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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,

              Plaintiff,                    Case No. 1:18-cr-00258-BLW

       vs.
                                            GOVERNMENT’S MOTION TO
PAVEL BABICHENKO,                           EXCLUDE DEFENDANT DAVID
PIOTR BABICHENKO,                           BIBIKOV’S EXPERT ANNE M.
TIMOFEY BABICHENKO,                         LAYNE
KRISTINA BABICHENKO,
DAVID BIBIKOV,
ANNA IYERUSALIMETS,
MIKHAIL IYERUSALIMETS,

              Defendants.



      The Government hereby moves to exclude testimony by Defendant David

Bibikov’s recently-disclosed expert Anne M. Layne. This Court should exclude the

proposed expert from testifying at trial. The expert notice is two years late and is

insufficient under Federal Rule of Criminal Procedure 16(b)(1)(C).




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                                   BACKGROUND

      In the Court’s First Order Modifying General Order No. 319 (ECF 296), the

Defendants were ordered to identify and disclose expert witnesses by March 1,

2020. Both parties were ordered to identify rebuttal experts by April 1, 2020, and to

provide all expert-related discovery no later than May 1, 2020. (ECF 296). In the

Court’s Second Order Modifying General Order No. 319, the Court extended the

deadlines for rebuttal experts to May 8, 2020, and ordered all expert-related

discovery no later than September 1, 2020. (ECF 536). In this Court’s Third Order

Modifying General Order No. 319, expert-related deadlines were not extended.

(ECF 666). Finally, in subsequent pretrial orders relating to the retrial in this

matter, expert witness disclosure deadlines were not extended. (ECF 1224, 1225,

1305). However, the Court set a deadline to complete all discovery by February 16,

2022. (ECF 1305).

      The Defendants’ complied with the expert deadline by filing a notice of intent

to introduce financial expert testimony of Eric Lee on March 1, 2020. (ECF 401).

On February 3, 2021, Defendants supplemented the expert notice for Lee. (ECF

736). The notice complied with Federal Rule of Criminal Procedure 16(b)(1)(C),

providing Lee’s opinions, the bases and reasons for those opinions, and his

qualifications. Lee ultimately testified at the first trial in this matter.

      On March 14, 2022, the Court entered an order denying the Defendants’

Motion in Limine seeking to prevent the Government from questioning Lee

regarding impeachment information pertaining to his prior employment with the



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Internal Revenue Service. (ECF 1307). One week later, Defendant David Bibikov

filed a new expert notice for previously-undisclosed financial expert Anne M. Layne.

(ECF 1336).

      Defendant Bibikov’s notice regarding expert Anne. M. Layne identifies her as

a forensic accountant. The notice provides vague information regarding the

materials Layne reviewed, listing the following non-specific categories: financial

records from discovery, business records, online sale records, trial transcripts, trial

exhibits, and analyses in government reports and memorandum. (ECF 1336). The

notice does not provide any opinions that Layne will testify to, but rather states

that she “may testify” regarding the Defendant’s financial transactions, the amount

of funds received and used, the profitability of his businesses, his “business model in

general,” and the various records received in this case “including any opinions

regarding the completeness of the data.” (ECF 1336).

                                    ARGUMENT

      Defendant Bibikov’s expert witness disclosure is untimely, having been

provided over two years after the initial expert disclosure deadline and 18 months

after the deadline for rebuttal experts. Likewise, the disclosure was made after the

general discovery deadline for retrial, which was February 16, 2022. The

Defendants have been on notice regarding the Government’s financial expert for

over two years, and thus have no grounds for waiting until the last minute to

ambush the Government with a new expert. (ECF 342).




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      Bibikov’s new expert notice is a transparent attempt to avoid calling their

original financial expert, Eric Lee. Bibikov waited until the Court issued its opinion

permitting questioning regarding Lee’s bias to file its expert notice. (ECF 1307).

The Court should see through this attempt, uphold its expert deadlines, and exclude

Bibikov’s new expert.

      Further, the expert notice is insufficient under Federal Criminal Rule

16(b)(1)(C). Federal Rule of Criminal Procedure 16(b)(1)(C) requires a defendant to

give the Government a written summary of expert testimony, including “the

witness’ opinions, the bases and reasons for those opinions, and the witness’

qualifications.” Rule 16(b)(1)(C) is “intended to minimize surprise that often results

from unexpected expert testimony . . . and to provide the opponent with a fair

opportunity to test the merit of the expert’s testimony through focused cross-

examination.” Fed. R. Crim. P. 16 (1993 amend. advisory committee’s note). “The

Rule requires a summary of the expected testimony, not a list of topics.” United

States v. Duvall, 272 F.3d 825, 828 (7th Cir. 2001).

      Bibikov’s notice provides a list of the general topics Layne may testify about

but does not identify any opinions that she will offer on these subjects. Permitting a

new expert less than two months before retrial in this matter, with insufficient

notice of her opinions, and the bases and reasons for the opinions, would unfairly

prejudice the Government. Even if Bibikov had disclosed this expert’s actual

opinions, the Government will not have proper time to research their backgrounds,

to find any opinions they gave in other cases, to file timely Daubert motions, or to



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seek rebuttal expert witnesses if necessary. This is all part of what expert

disclosures are designed to allow for.

      The limited questioning of Eric Lee regarding his potential bias does not

provide grounds for Bibikov to call a new financial expert this late in the case. Even

if Bibikov did not know (or should not reasonably have known) of Lee’s

impeachability before he testified at the first trial, he certainly knew of the

problems with his testimony once he was cross-examined. The Defendants then

litigated their motion in limine in the hopes of salvaging his testimony, while

holding in the wings other experts in case the Court ruled against them. This is a

“willful”—and, indeed cynical—failure to disclose. See United States v. Nash, 115

F.3d 1431, 1439-40 (9th Cir. 1997) (“The district court did not abuse its discretion in

concluding that the failure to disclose was willful and was justified in excluding the

[expert] witness’ testimony on that ground.”); see also Fed. R. Crim. P. 2 (“These

rules are to be interpreted to provide for the just determination of every criminal

proceeding, to secure simplicity in procedure and fairness in administration, and to

eliminate unjustifiable expense and delay.”). The Court should not reward this

strategy and certainly has the authority and discretion to preclude these eleventh-

hour experts. See United States v. Neuman, 621 F. App’x 363, 365 (9th Cir. 2015)

(ruling that the district court did not abuse its discretion in precluding defense

expert noticed after the Rule 16 deadline).




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                                   CONCLUSION

      For the foregoing reasons, the Court should preclude Bibikov’s expert, Anne

M. Layne, from testifying at the retrial in this matter.



      Respectfully submitted this 22nd day of March, 2022.

                                            RAFAEL M. GONZALEZ, JR.
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on March 22, 2022, the foregoing

GOVERNMENT’S MOTION TO EXCLUDE DEFENDANT DAVID BIBIKOV’S

EXPERT ANNE M. LAYNE was electronically filed with the Clerk of the Court

using the CM/ECF system, and that a copy was served on the following parties by

ECF filing:

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